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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:02CR76
                                              )
                     Plaintiff,               )
                                              )                MEMORANDUM
       vs.                                    )                 AND ORDER
                                              )
                                              )
ELEODOR LOPEZ-URIAS,                          )
                                              )
                     Defendant.               )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 245) filed by

the Defendant, Eleodor Lopez-Urias. Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts requires initial review of a § 2255 motion,

and describes the initial review process:

       The motion, together with all the files, records, transcripts, and
       correspondence relating to the judgment under attack, shall be examined
       promptly by the judge to whom it is assigned. If it plainly appears from the
       face of the motion and any annexed exhibits and the prior proceedings in the
       case that the movant is not entitled to relief in the district court, the judge
       shall make an order for its summary dismissal and cause the movant to be
       notified. Otherwise, the judge shall order the United States Attorney to file
       an answer or other pleading within the period of time fixed by the court or to
       take such other action as the judge deems appropriate.

                                  FACTUAL BACKGROUND

       After a jury trial, Lopez-Urias was found guilty of a one-count Indictment charging

him with possessing more than 5 kilograms of a mixture or substance containing a

detectable amount of cocaine with the intent to distribute, in violation of 21 U.S.C. §§

841(a)(1) and (b)(1). Lopez-Urias was sentenced to 135 months imprisonment and 5 years

supervised release. Lopez-Urias filed a direct appeal, and the Eighth Circuit Court of

Appeals affirmed. Lopez-Urias argues: 1) the “mere presence” instruction should have
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been allowed; 2) the determined drug quantity was incorrect, as not all drug packages were

weighed; and 3) the enhancement for leadership role was not in the Indictment and not

proved to the jury beyond a reasonable doubt, citing United States v. Booker, 125 S. Ct.

738 (2005). The issues are discussed below.

                                       DISCUSSION

“Mere Presence” Instruction

       As the Eighth Circuit stated:

       The theory of defense was, in essence, that the government had failed to
       carry its burden on two elements of constructive possession–knowledge and
       control. Thus, the giving of the mere-presence instruction in this case would
       have duplicated the instructions outlining the elements of the offense, the
       definition of possession, and the burden of proof.

United States v. Serrano-Lopez, 366 F.3d 628, 637 (8th Cir. 1004) (cited in United States

v. Gaona-Lopez, 408 F.3d 500, 507 (8th Cir. 2005) (affirming the district court’s decision not

to give a mere-presence instruction in a drug possession case, stating that the instruction

would have duplicated instructions regarding the presumption of innocence, the elements

of the offense, and the burden of proof)).

       For these reasons, the claim is denied and no response from the government is

required.

Drug Quantity

       The Defendant argues that the drug quantity found by the jury, more than 5

kilograms of cocaine, was incorrect because each drug package was not weighed. As the

Eighth Circuit stated, the evidence is sufficient to support a finding that 3.7 kilograms of

material containing cocaine was in the unsampled packages, and the weighed packages

weighed 2.2 kilograms. The Eighth Circuit also stated that it is not necessary to weigh


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each package. Id. at 639 (citing United States v. Brett, 872 F.2d 1365, 1372 (8th Cir.

1989)).

       To the extent this argument may be based on Booker, decided on January 12, 2005,

the claim is denied because the conviction was final before the Booker decision was

announced. Never Misses A Shot v. United States, 413 F.3d 781, 783 (8 th Cir. 2005).

       For these reasons, the claim is denied and no response from the government is

required.

Leadership Role

       The Defendant argues that the leadership role was improperly included in his

guideline application, citing Booker. As stated above, the claim must be denied because

the conviction was final before the Booker decision was announced. Never Misses A Shot

v. United States, 413 F.3d at 783.

       For this reason, the claim is denied and no response from the government is

required.

                                      CONCLUSION

       For the reasons discussed, it appears plainly from the face of the § 2255 motion and

the record that the Defendant is not entitled to relief with respect to any of his claims. All

claims are denied.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 245);




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      2.     Upon initial review, the Court summarily dismisses the Defendant's claims

raised in the § 2255 motion;

      3.     A separate Judgment will be issued denying the § 2255 motion; and

      4.     The Clerk shall mail a copy of this Memorandum and Order and the separate

Judgment to the Defendant at his last-known address.

      DATED this 19th day of September, 2005.

                                              BY THE COURT:

                                              s/Laurie Smith Camp
                                              United States District Judge




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